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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 BYTEMARK, INC.,

      Plaintiff,

      v.                                                    C.A. No. 18-834-LPS-CJB

 TOKEN TRANSIT, INC.                                        JURY TRIAL DEMANDED

      Defendant.



                                   FIRST AMENDED COMPLAINT

           Plaintiff Bytemark, Inc. (“Bytemark” or “Plaintiff”), files this First Amended Complaint

 against Defendant Token Transit, Inc. (“Token Transit” or “Defendant”) and as claim for relief

 states as follows:

                                      NATURE OF THE ACTION

           1.       This is an action for patent infringement under the Patent Act.

                                                PARTIES

           2.       Bytemark is a Delaware corporation organized and existing under the laws of the

 State of Delaware with a place of business at 268 W 44th Street, 3rd Floor, New York, New

 York 10036.

           3.       Bytemark is generally in the business of providing a secure mobile ticketing

 platform for transit, tourism, and events through smartphone apps, point-of-sale plugins, and

 open APIs. Bytemark is a market leader in providing mobile ticketing technologies to the transit

 industry and delivers a comprehensive platform that improves the ticket and payment experience

 for consumers and merchants.




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          4.        On information and belief, Token Transit is a Delaware corporation organized and

 existing under the laws of the State of Delaware and founded in San Francisco, California, with a

 place of business at 3425 19th Street #17, San Francisco, California 94110.

          5.        On information and belief, Defendant provides mobile ticketing technologies to

 municipal transit agencies and sells a mobile ticketing app through which consumers can

 purchase and use transit tickets on their smartphones or other mobile devices.

          6.        On information and belief, Defendant advertises, sells, and conducts business

 throughout the United States, including within this District in the State of Delaware.          On

 information and belief, at all relevant times Defendant was in the business of offering for sale

 and selling its mobile ticketing systems in the United States.

                                            JURISDICTION

          7.        This Court has subject matter jurisdiction under Title 28, United States Code, §§

 1331 and 1338(a) because this action arises under the Patent Laws of the United States, 35

 U.S.C. § 1 et seq.

          8.        Venue in this judicial district is proper under Title 28, United States Code, §§

 1391 and 1400 because Defendant is incorporated in the State of Delaware and because

 Defendant conducts business within this District, advertises within this district, and offers for

 sale and/or sells in this District its application and system that infringes Plaintiff’s patent,

 including to customer Delaware Transit Corporation, which operates as DART First State

 (“DART”), and its customers, who are located in this District and use and/or have used

 Defendant’s infringing system and application in this District.

          9.        This Court has personal jurisdiction over Defendant because Defendant is

 incorporated in this District and has purposely availed itself of the privileges and benefits of the




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 laws of the State of Delaware. Personal jurisdiction over Defendant is also proper because of

 Defendant’s continuous and systematic contacts and business activities within the state of

 Delaware and within this District.

                                             BACKGROUND

          10.       Bytemark is the owner of all rights, title and interest in and to United States Patent

 No. 9,239,993 (“the ‘993 Patent”), attached hereto as Exhibit A.

          11.       Bytemark and Defendant are competitors in the niche mobile ticketing market.

 Competitors in this market frequently bid against each other to provide mobile ticketing services

 to municipal transit agencies and other entities across the nation.

          12.       On information and belief, Defendant has offered for sale and/or sold its

 infringing visual validation application and system, including but not limited to the Token

 Transit app, to municipal transit agencies including DART in Sussex County, Delaware, RTS in

 Humboldt, California, Vine Transit in Napa, California, Big Blue Bus in Santa Monica,

 California, Gary Public Transit in Gary, Indiana, Citilink in Fort Wayne, Indiana, Riverside

 Transit in Riverside, California, Starmetro in Tallahassee, Florida, Startran in Lincoln, Nebraska,

 Kern Transit in Kern County, California, Anaheim Resort Transportation in Anaheim,

 California, The Bus in Springfield, Missouri, Metro Transit in Kalamazoo, Michigan, and

 Champaign-Urbana MTD in Champaign-Urbana, Illinois, among others.

          13.       Defendant offers for sale and sells its infringing visual validation application and

 system, the Token Transit app, in the United States and the State of Delaware, including through

 its interactive website, www.tokentransit.com. Transit users can enter a phone number at the

 Token Transit website and Defendant will text the user a link to download the Token Transit




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 application. The Token Transit app is also available for download from Google Play and the

 Apple App Store.

          14.       On information and belief, as a competitor in the niche mobile ticketing market,

 Defendant is aware of patents issued that disclose and claim inventions relevant to mobile

 ticketing. The ‘993 Patent has been previously asserted in patent infringement actions against

 Token Transit’s competitors, inter alia, Masabi, Inc., Xerox Corp., and Unwire US, Inc.

          15.       On information and belief, although Defendant has been aware of the inventions

 disclosed and claimed in the ‘993 Patent since it was issued, Defendant nevertheless consciously

 decided to offer for sale, sell, and practice its visual validation mobile ticketing application and

 system that infringes at least claim 1 of the ‘993 Patent literally and/or under the doctrine of

 equivalents.

          THE ‘993 PATENT AND PLAINTIFF’S V3 TICKETING TECHNOLOGY

          16.       The ‘993 Patent discloses and claims a novel system and method of electronic

 ticketing such that the ticket is verified at the entrance of venues by means of an animation or

 other human perceptible verifying visual object that is selected by the venue for the specific

 event.

          17.       The ‘993 Patent is directed to improving efficiency and security of mobile

 ticketing through innovation in server/computer/remote device technology. The ‘993 Patent

 improves on the mobile ticketing verification process by “providing a human perceptible visual

 display that the venue can rely on to verify the ticket without using a scanning device.”

          18.       The specification of the ‘993 Patent explains that under old electronic ticket

 verification systems, an “electronic ticket was displayed as a bar code on the recipient’s

 telephone display screen.” These systems were “fraught with error” and because bar-code




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 scanners were “not designed to read a lit LCD screen displaying a bar code,” the “reflectivity of

 the screen can defeat the scanning process.”

          19.       As disclosed and claimed, the ‘993 Patent presents an innovative solution over

 prior art bar coding where the claimed inventions use the transmission of tokens in a

 particularized, unconventional order, and associated technology to provide greater security in the

 ticketing process.

          20.       Bytemark has secured contracts relating to its V3 Ticketing Technology within

 the mass transit industry. These contracts have been highly publicized and are well known in the

 mobile ticketing market.

          21.       Bytemark’s website identifies its visual validating mobile ticketing applications

 and systems, including its V3 Ticketing Technology, as being covered by U.S. Patent No.

 9,239,993.

                    DEFENDANT’S INFRINGING APPLICATION AND SYSTEM

          22.       The Token Transit app is a universal “easy-to-use mobile app for riders to pay

 their bus fare using their smartphones.”

          23.       The Token Transit app allows a user to set up an account with a credit or debit

 card. Upon setting up an account, a user may select and purchase a fare using the credit or debit

 card on account.

          24.       After the purchase is processed and confirmed, a “stored pass” appears in the

 user’s “pass wallet.” To use his or her pass, a user taps the stored pass to “activate” and shows

 the bus driver the screen of his or her phone (remote display device).

          25.       The remote display device displays a display object that is readily recognizable

 visually by a ticket taker. For example, “[t]he passes vary in color and image by day and show




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 the time down to the second with movement.” A previously purchased electronic ticket also

 employs motion, such as “words moving back and forth” when the pass is available for use.

           26.      A ticket taker is able to distinguish valid electronic tickets from fake tickets

 because with fake tickets “there is no motion, the time is wrong, and the color of the day/picture

 might be wrong.”

           27.      The Token Transit app is “live in nearly 30 cities across the country.”

                                      COUNT ONE
                          INFRINGEMENT OF U.S. PATENT NO. 9,239,993

           28.      Plaintiff incorporates by reference the allegations set forth in paragraphs 1-27

 herein.

           29.      Plaintiff alleges infringement by Defendant’s mobile ticketing application and

 system, including the Token Transit mobile application, that includes a method performed by a

 computer system for displaying visual validation of the possession of a previously purchased

 electronic ticket for utilization of a service monitored by a ticket taker and all claims elements

 recited in claim 1. See Exhibit A.

           30.      The Token Transit application and system includes “A method by a server system

 for obtaining visual validation of the possession of a purchased electronic ticket on a user's

 computer device for presentation to a ticket taker.” The Token Transit app is used by various

 transit agencies including Big Blue Bus in Santa Monica CA, Long Beach Transit in Long

 Beach, CA, DART in Sussex County DE, and MCAT in Manatee County FL. The Token

 Transit system employs back-end server system interaction with an application on a smart phone

 such as an Android phone or iPhone (a user’s computer device).




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          31.       The Token Transit application and system enables the user to buy tickets online

 and to provide a visual validation of the possession of a purchased electronic ticket to a ticket

 taker (bus driver).

          32.       The user’s smart phone is in communication with a Token Transit server system

 for purchasing of tickets, and for obtaining a visual validation of the possession of a purchased

 electronic ticket.

          33.       The Token Transit app includes the claim element “transmitting a token

 associated with a previously purchased electronic ticket to a remote display device, wherein the

 token is a unique alphanumeric string.” On information and belief, a token associated with a

 previously purchased electronic ticket is transmitted to the smart phone thereby providing a

 linkage between a particular ticket and smart phone operations that are to be performed relating

 to the ticket. The Transmitted token is a unique alphanumeric string associated with the ticket

 number.

          34.       The Token Transit app includes the claim element “wherein a copy of the unique

 alphanumeric string is stored on a central computer system.” A copy of the unique alphanumeric

 string (e.g., ticket token) is also stored on Defendant’s central computer system, which allows a

 user to recover an electronic ticket in the event the user loses his or her phone.

          35.       The Token Transit app includes the claim element “validating the token by

 matching the token transmitted to the remote display device to the copy of the unique

 alphanumeric string stored on the central computing system to provide a ticket payload to the

 remote display device.” The token is validated by matching the token transmitted to the smart

 phone to the copy of the unique alphanumeric strong stored on the central computing system to

 provide a ticket payload to the smart phone.




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           36.      The Token Transit app includes the claim element “securing a validation display

 object prior to transmission to provide a secured validation display object.” On information and

 belief, a validation display object is secured in the Token Transit system prior to transmission to

 provide a secured validation display object.

           37.      The Token Transit app includes the claim element “transmitting to the remote

 display device a secured validation display object associated; with the ticket payload.” On

 information and belief, the Token Transit system transmits to the smart phone a secured

 validation display object associated with the ticket payload.

           38.      The Token Transit app includes the claim element “enabling the remote display

 device to display the secured validation display object upon validation of the token for visual

 recognition by the ticket taker.” The Token Transit system enables the smart phone to display

 the secured validation display object upon validation of the token for visual recognition by the

 ticket taker.

           39.      The Token Transit app includes the claim element “or preventing the remote

 display device from displaying the secured validation display object in the event that the token is

 not validated.” On information and belief, the Token Transit system prevents the smart phone

 from displaying the secured validation display object in the event that the token is not validated.

           40.      Pursuant to 35 U.S.C. § 271(a), Defendant has infringed, and is continuing to

 infringe (literally and/or under the doctrine of equivalents), at least claim 1 of the ‘993 Patent by

 offering for sale, using, and/or selling, distributing, promoting or providing for use by others the

 infringing visual validation mobile ticketing application and system including the exemplary

 product/system the Token Transit mobile application in Delaware and elsewhere in the United

 States.




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          41.       In violation of 35 U.S.C. § 271(b), Defendant has infringed, and is continuing to

 infringe (literally and/or under the doctrine of equivalents), at least claim 1 of the ‘993 Patent

 indirectly by inducing the infringement of the ‘993 Patent’s claims by third parties and its

 customers by encouraging these customers and others to purchase and use the infringing system

 and application.

          42.       Despite notice of infringement, Defendant continues to perform affirmative acts

 that constitute infringement including offering for sale, selling, distributing, promoting, or

 providing support and back-end management and service for its infringing application with the

 knowledge or willful blindness that its conduct will induce its customers to infringe the ‘993

 Patent’s asserted claims.

          43.       In violation of 35 U.S.C. § 271(c), Defendant has infringed and is continuing to

 infringe (literally and/or under the doctrine of equivalents), at least claim 1 of the ‘993 Patent

 indirectly by contributing to the infringement of the ‘993 Patent’s asserted claims.

          44.       Defendant has contributed and continues to contribute to the infringement of at

 least claim 1 of the ‘993 Patent because it knew that the application and system it offers for sale

 and sells is infringing and not suitable for substantial non-infringing use.

          45.       As a result of Defendant’s infringement of the ‘993 Patent’s asserted claims,

 Plaintiff has suffered monetary losses for which Plaintiff is entitled to an award of damages that

 are adequate to compensate Plaintiff for the infringement under 35 U.S.C. § 284, but in no event

 less than a reasonable royalty.

          46.       Defendant’s infringement of the ‘993 Patent has been deliberate, willful, and with

 full knowledge, or willful blindness to knowledge, of the ‘993 Patent.




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          47.       Plaintiff has suffered damages in an amount to be determined at trial by reason of

 Defendant’s willful infringement of the ‘993 Patent, and will suffer additional damages and will

 be irreparably injured unless the Court enjoins Defendant from continuing such infringement.

                                         PRAYER FOR RELIEF

          Wherefore, Plaintiff, Bytemark, Inc., prays for relief, as follows:

          A.        That Plaintiff is the owner of all right, title, and interest in and to United States

 Patent No. 9,239,993, together with all rights of recovery under such patent for past and future

 infringement thereof;

          B.        That United States Patent No. 9,239,993 is valid and enforceable in law and that

 Defendant has infringed said patent;

          C.        Awarding to Plaintiff its damages caused by Defendant’s infringement of United

 States Patent No. 9,239,993, including an assessment of pre-judgment and post-judgment interest

 and costs, and an award of supplemental damages for any continuing post- verdict infringement

 up until entry of the final Judgment with an accounting, as needed;

          D.        That Defendant’s infringement has been willful and said damages be trebled

 pursuant to 35 U.S.C. § 284;

          E.        Entering a permanent injunction against Defendant, its officers, employees,

 attorneys, all parent and subsidiary corporations and affiliates, their assigns and successors in

 interest, and those persons in active concert or participation with any of them who receive notice

 of the injunction, enjoining them from continuing acts of infringement of the ‘993 Patent,

 including without limitation, from continuing to make, use, sell and/or offer for sale;

          F.        That this is an exceptional case and awarding to Plaintiff its costs, expenses and

 reasonable attorney fees pursuant to 35 U.S.C. § 285;




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           G.       That the Court award punitive damages to Plaintiff owing to the willful, wanton,

 and malicious nature of Defendant’s acts; and

           H.       Awarding to Plaintiff such other and further relief as the Court may deem just and

 proper.

                                     DEMAND FOR JURY TRIAL

           In accordance with Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury for all

 issues triable by jury.



                                                      /s/ Christine D. Haynes
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